              Case 3:11-cv-03029-PKH Document 4                Filed 04/15/11 Page 1 of 3 PageID #: 16




                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                                 HARRISON DIVISION


               DAVID STEBBINS                                                                          PLAINTIFF

                       v.                        Civil No. 11-3029

               HARP & ASSOCIATES REAL
               ESTATE SERVICE                                                                       DEFENDANT



                        REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

                       David Stebbins filed this pro se action against his landlord, Harp & Associates Real Estate

               Service. Stebbins has also submitted an application to proceed in forma pauperis (IFP)(Doc. 3).

                       Under the provisions of the IFP statute, the Court is obligated to screen any complaint in

               which the Plaintiff seeks to proceed IFP. 28 U.S.C. § 1915(e)(2). The Court is to dismiss the case

               if it determines that the case is: frivolous or malicious; fails to state a claim on which relief may

               be granted; or seeks monetary relief against a Defendant who is immune from such relief. Id.

                                                           Discussion

                       According to the allegations of the complaint, Defendant, headquartered in Harrison,

               Arkansas, is his landlord. Stebbins indicates Defendant acts as agent for the land owner who

               resides in Fresno, California. He maintains this Court has jurisdiction because it “concerns an

               arbitration issue in a contract affecting interstate commerce.”

                       On March 21, 2011, Stebbins sent an e-mail to Defendant that contained an invitation to

               modify his lease agreement. The modification included an arbitration clause requiring all legal

               disputes, even those unrelated to the lease, to be submitted to arbitration.




                                                                -1-


AO72A
(Rev. 8/82)
              Case 3:11-cv-03029-PKH Document 4                Filed 04/15/11 Page 2 of 3 PageID #: 17




                       With regard to acceptance, the contract provided that if Stebbins sent Defendant an

               agreement to arbitrate and “they do not accept the invitation within 24 hours of receiving it, I

               automatically win the relief requested, regardless of the merits of the case.” Additionally,

               acceptance also occurred if his rent check for April, 2011, in the amount of $200 was accepted.

                       Stebbins maintains the contract was entered into on April 1st, when Stephanie Sanders, the

               property manager, took the check from him and wrote him a receipt. Later that day, Stebbins

               alleges he sent Defendant an arbitration submission form. Stebbins indicates he was seeking an end

               to the current eviction action and a renewal of his Section 8 Federal Housing Benefits. Defendant

               did not respond to the e-mail. Stebbins therefore maintains that pursuant to the “forfeit victory

               clause” he “wins.”

                       Stebbins has alleged the Court has jurisdiction by virtue of the existence of diversity of

               citizenship. Diversity jurisdiction turns on two issues, is there complete diversity of citizenship

               between the parties, and does the amount in controversy exceed $75,000.” Northport Health

               Services of Arkansas, LLC v. Rutherford, 605 F.3d 483, 486 (8th Cir. 2010).

                       Stebbins resides in Harrison, Arkansas, and indicates Defendant is headquartered in

               Harrison, Arkansas. Diversity of citizenship does not exist.

                       Even assuming there is complete diversity of citizenship, the amount in controversy is

               lacking. Stebbins indicates the rent on his property is $375 per month but that he was only required

               to pay $192 per month because of federal housing benefits. The amount of the check he tendered

               to Defendant was for $200. Clearly, the amount in controversy does not exceed $75,000.

                       Additionally, the Federal Arbitration Act (FAA) does not itself bestow federal jurisdiction;

               Instead, there must be an independent jurisdictional base. Hall St. Assocs, LLC v. Mattel, Inc., 552

               U.S. 576 (2008). No other basis of federal court jurisdiction exists.



                                                               -2-


AO72A
(Rev. 8/82)
              Case 3:11-cv-03029-PKH Document 4              Filed 04/15/11 Page 3 of 3 PageID #: 18




                                                        Conclusion

                      For the reasons stated, I recommend that the motion to proceed IFP (Doc. 3) be denied and

               the case dismissed.

                      Stebbins has fourteen (14) days from receipt of the report and recommendation in

               which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

               objections may result in waiver of the right to appeal questions of fact. Plaintiff is

               reminded that objections must be both timely and specific to trigger de novo review by the

               district court.

                      DATED this 15th day of April 2011.




                                                         /s/ J. Marschewski
                                                          HON. JAMES R. MARSCHEWSKI
                                                         CHIEF UNITED STATES MAGISTRATE JUDGE




                                                             -3-


AO72A
(Rev. 8/82)
